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                             UNITED STATES DISTRICT CO T
                           SOUTHERN DISTRICT OF CALIF RN
                                                                               FILED
                                                                                DEC 06l0\6
UNITED STATES OF AMERICA,
                                                                      259 CL  K us DISTRICT CO~~6RNIA
                                                                       SOUTHERN DISTRICT OF CA DEPUTY
                                                                       BY
                                     Plaintiff,
                     vs.
                                                      JUDGMENT OF DISMISSAL
DAVID PARRA-MEDINA (2),

                                   Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
D    granted the motion of the Government for dismissal of this case, without prejudice; or

D    the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal, without prejudice; or

D    the Court has granted the motion of the defendant for a judgment of acquittal; or

D    a jury has been waived, and the Court has found the defendant not guilty; or

D    the jury has returned its verdict, finding the defendant not guilty;

D    of the offense(s) as charged in the Indictment/Information:




Dated:   12/6/2016

                                                        United States Magistrate Judge
